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                                                      7
                                                      8                            UNITED STATES DISTRICT COURT
                                                                        CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                                                      9
                                                     10
                                                          DAVID PARKER and BIG BIRD      )                          Case No. SACV12-1994 DOC(ANx)
                                                     11   HOLDINGS, LLC,                 )
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                                                                                         )                          OPPOSITION OF PLAINTIFFS DAVID
                                                     12             Plaintiffs,          )                          PARKER AND BIG BIRD HOLDINGS,
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                                                                                         )                          LLC TO DEFENDANT OCEAN
                                                     13        vs.                       )                          ALEXANDER MARINE YACHT SALES,
                                                                                         )                          INC.’S MOTION FOR SUMMARY
                                                     14   ALEXANDER MARINE CO., LTD,     )                          JUDGMENT
                                                          OCEAN ALEXANDER MARINE CENTER, )
                                                     15   INC.,OCEAN ALEXANDER SERVICES, )                          Date: June 2, 2014
                                                          L.L.C., and OCEAN ALEXANDER    )                          Time: 8:30 a.m.
                                                     16   MARINE YACHT SALES, INC.       )                          Courtroom: 9D
                                                                                         )                          Judge: Hon. David O. Carter
                                                     17                  Defendant.      )
                                                                                         )                          Complaint Filed:   Nov. 14, 2012
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                                                      1   I.        INTRODUCTION
                                                      2             Defendant             Ocean         Alexander              Marine      Yacht    Sales,          Inc.’s
                                                      3   (“Ocean           Alexander”)               motion            for     summary      judgment          fails       on
                                                      4   multiple levels.
                                                      5             As     a     preliminary               matter,        Ocean        Alexander’s        motion          for
                                                      6   summary judgment fails to satisfy local rules requiring parties
                                                      7   to engage in thorough meet and confer efforts prior to filing
                                                      8   any such motions.
                                                      9             More substantively, Ocean Alexander’s motion for summary
                                                     10   judgment fails to address analyze any of the elements of any of
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                                                     11   the five causes of action against it, including the central
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                                                     12   allegation against it – that it has direct liability for the
                                                     13   warranty obligations at issue in this case.
                                                     14             Additionally, Ocean Alexander has failed to put forward
                                                     15   sufficient               admissible               evidence            to     carry       its        burden       of
                                                     16   establishing               that       there         is    no        triable      issue    of    fact       as    to
                                                     17   whether defendants are alter egos of each other.
                                                     18             Finally, in that defendant Alexander Marine is a foreign
                                                     19   entity that has not answered the complaint as of the filing of
                                                     20   this        opposition,                plaintiffs              have        been    unable           to    obtain
                                                     21   documents or discovery from this entity with respect to these
                                                     22   issues, and therefore plaintiffs request additional time under
                                                     23   FRCP 56(d) to conduct such discovery.
                                                     24
                                                     25   II.       FACTS
                                                     26             Plaintiffs              David          Parker         and        Big    Bird    Holdings,             LLC
                                                     27   (“plaintiffs”) have brought this suit alleging five causes of
                                                     28   action           arising            out         of        defendants’            breach        of        warranty

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                                                      1   obligations.                 Defendant Alexander Marine Co. Ltd. (“Alexander
                                                      2   Marine”) is the foreign manufacturer of the yacht.                                                  Defendant
                                                      3   Ocean         Alexander             is      the       manufacturer’s            U.S.        representative,
                                                      4   which        imported            that       yacht         and    was    responsible           for       warranty
                                                      5   repairs.
                                                      6             Ocean Alexander has admitted that it imported the yacht
                                                      7   and       undertook             the       dealer’s             warranty        obligations          upon       the
                                                      8   termination                of       the        dealership             that     sold         the     yacht       to
                                                      9   plaintiffs,              Orange          Coast        Yachts,         Inc.     (“Orange       Coast”),         and
                                                     10   therefore Ocean Alexander has multiple statutory and common law
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                                                     11   warranty obligations.
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                                                     12
                                                     13   III. ANALYSIS
                                                     14   A.        Failure to Meet and Confer
                                                     15             Local Rule 7-3 requires counsel for parties to meet and
                                                     16   confer          to      “thoroughly               discuss”         issues       to     be     addressed         in
                                                     17   motions ten days prior to the filing of any such motion.                                                     Here,
                                                     18   there was one short telephone discussion five days prior to the
                                                     19   filing.            During that call, Ocean Alexander’s counsel promised
                                                     20   to follow-up with a letter detailing its position, but no such
                                                     21   letter was sent.                      See Declaration of Theodore H. Adkinson, ¶¶
                                                     22   5-6.
                                                     23
                                                     24   B.        Ocean        Alexander’s               Motion         Fails     to    Address           the    Central
                                                     25   Allegation Against it
                                                     26             Ocean        Alexander’s              motion          for    summary       judgment           is   based
                                                     27   entirely           upon       attempting              to       disprove      alter     ego        allegations.
                                                     28   The motion does not in any way address Ocean Alexander’s direct

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                                                      1   liability,              and        it      puts           forward       no     evidence      or         argument
                                                      2   establishing that it could have no such direct liability.                                                      This
                                                      3   direct liability stems from Ocean Alexander’s adoption of the
                                                      4   manufacturer’s                  warranty             obligations,             from     its    role        as     a
                                                      5   distributor of the yacht, and from its role in the manufacture
                                                      6   of the yacht.
                                                      7
                                                      8   1.        Ocean Alexander’s Adoption Liability
                                                      9             In      plaintiffs’               complaint,            plaintiffs         have      alleged           as
                                                     10   follows:
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                                                     11             Defendant AM assigned responsibility for the handling
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                                                     12             of     AM’s        written          warranties             for     the   Jelly     Bean2        to
                                                     13             defendants OAMS, OAMC and OAYS, and defendants OAMS,
                                                     14             OAMC        and       OAYS        adopted            and     assumed       those     written
                                                     15             warranties.                (Plaintiffs’ complaint, ECF Doc. # 1, p.
                                                     16             5, ¶ 18.)
                                                     17
                                                     18             Defendant’s motion for summary judgment does not cite any
                                                     19   authority or put forward any argument as to how this impacts
                                                     20   Ocean Alexander’s liability to plaintiffs.                                           Ocean Alexander’s
                                                     21   motion instead focuses solely on alter ego allegations.
                                                     22             The       yacht         at      issue           in    this       litigation        was    sold         to
                                                     23   plaintiffs by a dealer, Orange Coast Yachts, whose relationship
                                                     24   with       defendant            Alexander             Marine         was     subsequently      terminated.
                                                     25   Upon        termination,                Alexander              Marine       assigned    all        of     Orange
                                                     26   Coast’s           warranty              obligations             to      Ocean      Alexander.             Ocean
                                                     27   Alexander                then            adopted               Alexander           Marine’s             warranty
                                                     28

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                                                      1   responsibilities                   by     actively             evaluating       and     denying         warranty
                                                      2   claims.
                                                      3             With           respect               to          the      assignment               of         warranty
                                                      4   responsibilities,                     the        evidence         shows        that     Alexander         Marine
                                                      5   designated Ocean Alexander to handle all warranty claims as
                                                      6   detailed in an e-mail sent to Orange Coast Yachts:
                                                      7             THIS       NOTICE         is      to      formally       advise        you    that       as    our
                                                      8             discussions                  on         the          subject          of      your         sales
                                                      9             representation has not resulted in the needed changes
                                                     10             we desired, we are terminating your relationship with
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                                                     11             us as an independent sales agent. This termination is
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                                                     12             effective             Oct       9,      2009.          [¶]...        Please       direct       all
                                                     13             warranty              items            to        tim@oceanalexander.com                    where
                                                     14             Alexander Marine will be involved directly with the
                                                     15             customer. (Exhibit A to Declaration of James McLaren
                                                     16             (Emphasis added).)
                                                     17
                                                     18             Ocean         Alexander              employee           Ray     Prokorym          testified          that
                                                     19   tim@oceanalexander.com                           was        the     e-mail           address        of     Ocean
                                                     20   Alexander              employee             Tim           Curry,        (Exhibit        B     to        Adkinson
                                                     21   Declaration, Prokorym Deposition, p. 49:22-50:1) and Tim Curry
                                                     22   confirmed             in      his        deposition              that     he     was    responsible             for
                                                     23   handling warranty claims on all Ocean Alexander yachts on the
                                                     24   West Coast, including yachts sold by Orange Coast Yachts prior
                                                     25   to the termination of its sales relationship with Alexander
                                                     26   Marine.            (Exhibit A to Adkinson Decl., Curry Deposition, pp.
                                                     27   11:2-18.)
                                                     28

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                                                      1             Subsequent             to     that        termination              e-mail,    Ocean      Alexander,
                                                      2   having         adopted           all       warranty             responsibilities,               evaluated    and
                                                      3   rejected             the         warranty                 claims        presented          by     plaintiffs.
                                                      4   Specifically, the owner and director of Ocean Alexander sent e-
                                                      5   mails to plaintiff David Parker specifying that Ocean Alexander
                                                      6   disagreed with the repairs being made to the vessel and refused
                                                      7   to honor plaintiffs’ claims.                                    For example, Mr. Cheuh sent an e-
                                                      8   mail on behalf of Ocean Alexander with the following denial:
                                                      9             Dear Dave and Al,
                                                     10             Thank you for providing the information in the past 2
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                                                     11             weeks. After reviewing the below are our findings:
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                                                     12             1.      "Extended             Keel        is          non    structural"         -     ...   the
                                                     13             extended keel, by design, is NOT to take the entire
                                                     14             force of any impact/grounding and potential render the
                                                     15             original keel and hull compromised. Thus, it is Ocean
                                                     16             Alexander's professional opinion TO DISAGREE that the
                                                     17             current repair methods advocated by Gambol. That is OA
                                                     18             disagrees with reinforcement to make the extended keel
                                                     19             structural. We believe this take on additional risk to
                                                     20             the boat, in case of a collision may compromise the
                                                     21             hull/original keel.
                                                     22             2.       ... Thus it is in Ocean Alexander's professional
                                                     23             opinion            that         the         FIBERGLASS              WAS    SUFFICIENT         IN
                                                     24             THICKNESS            prior         to     impact            and    the    only    reason     the
                                                     25             measurements                are         1/2"          is     due     to    the       areas   had
                                                     26             delaminated due to impact.
                                                     27
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                                                      1             3. "Keel Extension poorly attached". Ocean Alexander
                                                      2             DENIES this charge as the boat has been in the water
                                                      3             for well over 5 years. ...
                                                      4             4. ... OA disagrees with the repair method and cannot
                                                      5             participate               in       providing         resources,   parts/material
                                                      6             when we do not believe in the inherent soundness of
                                                      7             the solution being undertaken. ...
                                                      8             I wish I could have had better news. ... the repair
                                                      9             already undertaken and being suggested is to undertake
                                                     10             a route that we at OA CANNOT agree with nor sign off
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                                                     11             on. ...
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                                                     12             Johnny
                                                     13             (Declaration David Parker, Exhibit A)
                                                     14
                                                     15             When        asked          about          this      e-mail   at   deposition,     Ocean
                                                     16   Alexander’s employee in charge of warranty claims, Tim Curry,
                                                     17   testified that Johnny Cheuh has the authority to sign off on
                                                     18   warranty repairs:
                                                     19             Q.      ... Have you ever seen Johnny Cheuh weigh in on a
                                                     20             warranty claim in such a manner?
                                                     21             Mr. WISHKO: Object to the form.
                                                     22             A.        I’ve had discussions with Johnny as far as the
                                                     23             validity of warranty.
                                                     24             Q.      ...And as far as you know, Johnny works for Ocean
                                                     25             Alexander, correct, has some role at Ocean Alexander?
                                                     26             A.        Yes.
                                                     27             Q.        Do you know whether he’s authorized to speak on
                                                     28             behalf of Ocean Alexander?

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                                                       1             A.        I would assume.
                                                       2             Q.        What’s that assumption based on?
                                                       3             A.        As far as I know, he is the person that I would
                                                       4             ask for authorization on that kind of...
                                                       5             Q.        Kind of?
                                                       6             A.        Oh, sorry.              On warranty.
                                                       7             (Exhibit A to Adkinson Decl., Curry Depo., p. 68:9-25)
                                                       8             These statements demonstrate that Ocean Alexander was more
                                                       9   than a conduit for warranty claims as argued in Mr. Cheuh’s
                                                     10    declaration.                  By evaluating and rejecting warranty claims in
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                                                     11    its         own         name,            Ocean            Alexander          adopted     the        warranty
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                                                     12    responsibilities of Alexander Marine.
                                                     13              In fact, under California law, this written documentation
                                                     14    of Ocean Alexander’s active undertaking constitutes an express
                                                     15    warranty.                 Under          Calif.           Civil       Code    §   1792.1,      an    express
                                                     16    warranty is defined as follows:
                                                     17              (a) "Express warranty" means:
                                                     18              (1) A written statement arising out of a sale to the
                                                     19              consumer           of      a    consumer             good    pursuant     to   which       the
                                                     20              manufacturer, distributor, or retailer undertakes to
                                                     21              preserve or maintain the utility or performance of the
                                                     22              consumer good or provide compensation if there is a
                                                     23              failure in utility or performance; (Emphasis added.)
                                                     24              Here, Ocean Alexander is a distributor (as demonstrated
                                                     25    below) that made written statements in its e-mails regarding
                                                     26    its undertaking as to the maintenance on the boat.
                                                     27              Ocean Alexander’s adoption of warranty obligations under
                                                     28    California State law is also sufficient to bind Ocean Alexander

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                                                       1   under federal warranty law.                               (See 16 CFR § 700.4: “...If under
                                                       2   State law the supplier is deemed to have ‘adopted’ the written
                                                       3   affirmation of fact, promise, or undertaking, the supplier is
                                                       4   also obligated under the [Magnuson-Moss Warranty] Act.”)
                                                       5
                                                       6   2.        Ocean Alexander’s Distributor Liability
                                                       7             Furthermore, even if a trier of fact concluded that Ocean
                                                       8   Alexander               did         not          adopt         Alexander      Marine’s     warranty
                                                       9   obligations,               Ocean         Alexander            still   has    independent   warranty
                                                     10    obligations that arise under California law based upon its role
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                                                     11    as a distributor.                       Calif. Civil Code § 1792.2(a) specifies as
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                                                     12    follows with respect to warranties of fitness for a particular
                                                     13    purpose:
                                                     14              Every sale of consumer goods that are sold at retail
                                                     15              in this state by a retailer or distributor who has
                                                     16              reason to know at the time of the retail sale that the
                                                     17              goods are required for a particular purpose, and that
                                                     18              the         buyer           is        relying         on     the    retailer's     or
                                                     19              distributor's skill or judgment to select or furnish
                                                     20              suitable goods shall be accompanied by such retailer's
                                                     21              or distributor's implied warranty that the goods are
                                                     22              fit for that purpose. (Emphasis added)
                                                     23              Here, Ocean Alexander was a distributor as a result of its
                                                     24    importation of the boat for sale (see Plaintiff’s complaint, ¶
                                                     25    12 and Ocean Alexander’s answer, ¶ 12), thus standing between
                                                     26    the manufacturer and the retail seller.                                  (See Calif. Civil Code
                                                     27    § 1791(e): “‘Distributor’ means any ... corporation ... that
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                                                       1   stands between the manufacturer and the retail seller in
                                                       2   purchases ... or contracts for sale of consumer goods.”)
                                                       3             Ocean        Alexander            also          knew   the     yacht    would        be    used     for
                                                       4   ocean travel (See Curry deposition, p. 61:21-25), and therefore
                                                       5   under California law, the yacht came with Ocean Alexander’s
                                                       6   implied           warranty            that         the         yacht     would       be    fit      for     that
                                                       7   particular purpose.
                                                       8
                                                       9   3.        Ocean Alexander’s Manufacturer Liability
                                                     10              Additionally, there is evidence to support a finding that
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                                                     11    Ocean Alexander played a role in the manufacturing and design
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                                                     12    of the yacht, thus making Ocean Alexander a manufacturer under
                                                     13    the law for the purposes of warranty obligations.                                              In an e-mail
                                                     14    from       Ocean        Alexander’s               owner,         Johnny       Cheuh,      he   acknowledges
                                                     15    that Ocean Alexander was engaged in the design and construction
                                                     16    of the yacht at issue in this litigation.                                            In that e-mail he
                                                     17    states as follows:
                                                     18              ...As I have mentioned before, the original keel is
                                                     19              structural and the extension piece was designed, and
                                                     20              lasted         5years+,            w/o      being       structural.             This      was   a
                                                     21              deliberate decision by Ocean Alexander to ensure in a
                                                     22              collision             it      would         reduce       the     risk      of    structural
                                                     23              failure. ... [¶] ...However, I simply do not see where
                                                     24              Ocean Alexander is responsible here.                                    We built a boat
                                                     25              with       an      original            structural            keel    and     nonstructural
                                                     26              extended keel, that lasted 5 years w/o issue.                                               ...
                                                     27              (Exhibit B to Declaration of David Parker (Emphasis
                                                     28              added).)

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                                                       1             Ocean Alexander’s motion has entirely failed to address,
                                                       2   let alone demonstrate that there is not a triable issue as to
                                                       3   its direct liability under all of these theories, thus failing
                                                       4   to meet its burden of production under FRCP 56(c)(1)(A).                                                  For
                                                       5   instance, in Nissan Fire & Marine Ins. Co. v. Fritz Co., 210
                                                       6   F.3d 1099, 1102-03 (9th Cir. 2000), the court held as follows
                                                       7   with respect to a moving party’s burden of production:
                                                       8             A     moving           party          without              the    ultimate      burden    of
                                                       9             persuasion             at      trial            -    usually,      but    not   always,    a
                                                     10              defendant - has both the initial burden of production
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                                                     11              and the ultimate burden of persuasion on a motion for
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                                                     12              summary judgment. ... If a moving party fails to carry
                                                     13              its initial burden of production, the nonmoving party
                                                     14              has no obligation to produce anything, even if the
                                                     15              nonmoving            party         would            have    the    ultimate     burden    of
                                                     16              persuasion at trial. (Emphasis added.)
                                                     17              In that Ocean Alexander has failed to meet its burden of
                                                     18    production in establishing that plaintiffs could not establish
                                                     19    liability against it, Plaintiffs have no obligation to produce
                                                     20    any evidence in opposition to Ocean Alexander’s motion.
                                                     21
                                                     22    C.        There is a Triable Question of Fact as to Alter Ego Status
                                                     23              In Mr. Cheuh’s inadmissible declaration, he claims to not
                                                     24    be employed by Alexander Marine.                                       This is directly contracted
                                                     25    by Mr. Cheuh’s prior e-mail to Orange Coast Yachts in which he
                                                     26    terminated              Orange          Coast’s               dealership       status     on   behalf      of
                                                     27    Alexander             Marine          as      Alexander              Marine’s      “President.”          (See
                                                     28    Exhibit A to Declaration of James McLaren.)

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                                                       1             Mr. Cheuh’s inadmissible declaration also states that he
                                                       2   does not have a controlling interest in Alexander Marine, yet
                                                       3   that        declaration               fails         to      identify      the   entity     that     does
                                                       4   purportedly hold the controlling interest in Alexander Marine,
                                                       5   and the declaration fails to address whether Mr. Cheuh has any
                                                       6   ownership in and/or control over that unidentified entity.                                           Mr.
                                                       7   Cheuh’s carefully worded declaration therefore leaves open the
                                                       8   possibility that he has complete albeit indirect control over
                                                       9   Alexander            Marine         through           the      unnamed    entity.      Consequently,
                                                     10    Ocean Alexander’s evidence submitted in support of its motion
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                                                     11    fails to satisfy its burden under FRCP 56(c).                                        For example, in
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                                                     12    Nissan Fire & Marine, supra, 210 F.3d at 1106-07, the court of
                                                     13    appeal          concluded              the       since         the    moving    party’s      proffered
                                                     14    declaration failed to refute the possibility that notice was
                                                     15    sent timely even if not received timely, the motion should have
                                                     16    been denied: “at summary judgment, a nonmoving party plaintiff
                                                     17    has no obligation to produce anything until the moving party
                                                     18    defendant has carried its initial burden of production. Because
                                                     19    the O'Brien affidavit did not carry Fritz's initial burden of
                                                     20    production, Hitachi and Nissan had no obligation to provide
                                                     21    evidence in response.”
                                                     22              Here,        in     that        the      declarations          submitted    by   defendants
                                                     23    fail to properly refute the possibility of Mr. Cheuh’s complete
                                                     24    control          of      both       entities,             Ocean      Alexander’s    motion    has    not
                                                     25    satisfied its burden of production.
                                                     26              Further, as discussed above with respect to Mr. Cheuh’s
                                                     27    December 14, 2011, e-mail, either Ocean Alexander was involved
                                                     28    in the design and construction of the yacht at issue in this

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                                                       1   litigation,                or        there        is       such        a    “unity      of    interest     and
                                                       2   ownership” between these two companies in the mind of their
                                                       3   common         owner,           Johnny        Cheuh,            that       he   fails    to   differentiate
                                                       4   between the two entities when he is doing business on their
                                                       5   behalf.           This e-mail therefore creates a triable issue of fact
                                                       6   regarding the alter ego status of the defendants.
                                                       7
                                                       8   D.        Plaintiffs Request Additional Time to Perform Discovery on
                                                       9   Newly Appearing Defendant, Alexander Marine.
                                                     10              Based        upon          all     of     the         grounds         discussed     above,      Ocean
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                                                     11    Alexander’s motion should be denied.                                            However, to the extent
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                                                     12    this        Court          is        at    all         inclined            to    favorably       view     Ocean
                                                     13    Alexander’s motion at this time, plaintiffs request that they
                                                     14    be     given        additional              time          pursuant         to   FRCP     56(d)   to     perform
                                                     15    discovery             as        to     the       newly          appearing         defendant,       Alexander
                                                     16    Marine.           This discovery would be to elicit further evidence on
                                                     17    the        extent           of        Alexander             Marine’s            assignment       and      Ocean
                                                     18    Alexander’s adoption of warranty responsibilities, as well as
                                                     19    the extent the common control and ownership between Alexander
                                                     20    Marine, Ocean Alexander and their common owner, Johnny Cheuh.
                                                     21
                                                     22    IV.       CONCLUSION
                                                     23              Ocean        Alexander’s              motion           for       summary      judgment   fails     on
                                                     24    every level.                 It was filed without sufficient meet and confer
                                                     25    efforts, it fails to demonstrate that there is no triable issue
                                                     26    of fact as to the moving party’s direct liability under the
                                                     27    various warranties, and it fails to demonstrate that there is
                                                     28    no triable issue of fact raised by plaintiff’s allegations of

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                                                       1   alter ego liability.                        Finally, if this Court is at all inclined
                                                       2   to favorably view Ocean Alexander’s motion, plaintiffs request
                                                       3   additional              time        to      elicit        further    evidence    from   Alexander
                                                       4   Marine, which has only recently been ordered to appear in this
                                                       5   action.
                                                       6
                                                       7   Dated: May 12, 2014                                       ROBERTS & KEHAGIARAS LLP
                                                       8
                                                                                                             By:     /s/ Theodore H. Adkinson
                                                       9                                                             Theodore H. Adkinson
                                                     10                                                              Attorneys for plaintiffs
                                                                                                                     David Parker and Big Bird
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